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                       BEFORE THE UNITED STATES JUDICIAL
                       PANEL ON MULTIDISTRICT LITIGATION



IN RE: ORAL PHENYLEPHRINE                          MDL No. 3089
MARKETING AND SALES PRACTICES


                                   REPRESENTED PARTIES

       Attorney Andrea R. Gold represents the Plaintiffs in Hsieh et al v. Reckitt Benckiser LLC

et al, N.A., N.D. Ill., 1:23-cv-14404:

   -   James Hsieh

   -   Dominic Rio

   -   Mohanad Abdelkarim

   -   Steven Checchia
